                   IN THE UNITED STATES DISTRICT COURT FOR
                      THE EASTERN DISTRICT OF TENNESSEE
                            GREENEVILLE DIVISION

                                                   )
UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
                                                   )
v.                                                 )         No. 2:08-CR-16
                                                   )
                                                   )
GARY MOORE                                         )
                                                   )

                             MEMORANDUM AND ORDER

              This criminal case is before the court on the “Joint Motion to Continue Trial”

filed by the government and the defendant [doc. 191]. Defendant and defense counsel need

additional time in order to effectively prepare for trial.

              The court finds that the joint motion is well taken, and it will be granted. The

court finds that the ends of justice served by granting the motion outweigh the best interests

of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The court finds

that the failure to grant the motion would deny counsel for the defendant the reasonable time

necessary for effective preparation. 18 U.S.C. § 3161 (h)(7)(B)(iv). The joint motion

requires a delay in the proceedings; therefore, all the time from the filing of the joint motion

to the new trial date is excludable as provided by the Speedy Trial Act. 18 U.S.C. §

3161(h)(7)(A).




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             Accordingly, it is hereby ORDERED that the “Joint Motion to Continue Trial”

is GRANTED, and this criminal case is CONTINUED to Monday, January 24, 2011, at

9:00 a.m. The new plea cutoff date is January 14, 2011.



             IT IS SO ORDERED.



                                               ENTER:



                                                        s/ Leon Jordan
                                                  United States District Judge




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